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  8                         UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                       Case No. 15cr0575-GPC
 11                       Plaintiff,                  PRELIMINARY ORDER OF
 12          v.                                       CRIMINAL FORFEITURE

 13   JOSE ESPINOZA (2),
         aka “Tio,”
 14      aka “Vecino,”
 15                       Defendant.
 16
 17         WHEREAS, in the Superseding Indictment in the above-captioned case, the
 18 United States sought forfeiture of all right, title and interest in specific properties of
 19 the above-named Defendant, JOSE ESPINOZA (2) ("Defendant"), pursuant to
 20 Title 21, United States Code, Section 853, as properties constituting, or derived from,
 21 any proceeds Defendant obtained directly or indirectly, as the result of the violation
 22 of 21 U.S.C. §§ 841(a)(1) and 846, as well as any properties used or intended to be
 23 used to facilitate the commission of these violations, as charged in the Superseding
 24 Indictment; and
 25         WHEREAS, on or about June 7, 2016, Defendant pled guilty before Magistrate
 26 Judge Karen S. Crawford to Count 1 of the Superseding Indictment, which plea
 27 included consents to the forfeiture allegations of the Superseding Indictment, and to
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  1 the forfeiture of all property seized in connection with this case, including the
  2 following:
  3         a.    One 2007 Maroon Nissan X-Terra, California license plate
                  PERDDO, VIN 5N1AN08W37C514847, and
  4
            b.    $4,900.00 in U.S. Currency; and
  5
  6         WHEREAS, on July 12, 2016, this Court accepted the guilty plea of
  7 Defendant; and
  8         WHEREAS, by virtue of the facts set forth in the plea agreement the
  9 United States has established the requisite nexus between the forfeited properties and
 10 the offense; and
 11         WHEREAS, by virtue of said guilty plea, the United States is now entitled to
 12 possession of the above-referenced properties, pursuant to 21 U.S.C. § 853 and Rule
 13 32.2(b) of the Federal Rules of Criminal Procedure; and
 14         WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
 15 authority to take custody of the above-referenced properties which were found
 16 forfeitable by the Court; and
 17         WHEREAS, the United States, having submitted the Order herein to the
 18 Defendant through his attorney of record, to review, and no objections having been
 19 received;
 20         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
 21         1.    Based upon the guilty plea of the Defendant, the United States is hereby
 22 authorized to take custody and control of the following assets, and all right, title and
 23 interest of Defendant JOSE ESPINOZA (2) in the following properties are hereby
 24 forfeited to the United States for disposition in accordance with the law, subject to
 25 the provisions of 21 U.S.C. § 853(n):
 26         a.    One 2007 Maroon Nissan X-Terra, California license plate
                  PERDDO, VIN 5N1AN08W37C514847, and
 27
            b.    $4,900.00 in U.S. Currency.
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  1         2.     The aforementioned forfeited assets are to be held by the United States
  2 Marshals Service in its secure custody and control.
  3         3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
  4 to begin proceedings consistent with any statutory requirements pertaining to
  5 ancillary hearings and rights of third parties. The Court shall conduct ancillary
  6 proceedings as the Court deems appropriate only upon the receipt of timely third
  7 party petitions filed with the Court and served upon the United States. The Court
  8 may determine any petition without the need for further hearings upon the receipt of
  9 the Government’s response to any petition. The Court may enter an amended order
 10 without further notice to the parties.
 11         4.     Pursuant to the Attorney General’s authority under Section 853(n)(1) of
 12 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
 13 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
 14 the United States forthwith shall publish for thirty (30) consecutive days on the
 15 Government’s forfeiture website, www.forfeiture.gov, notice of this Order, notice of
 16 the United States’ intent to dispose of the properties in such manner as the Attorney
 17 General may direct, and notice that any person, other than the Defendant, having or
 18 claiming a legal interest in the above-listed forfeited properties must file a petition
 19 with the Court within thirty (30) days of the final publication of notice or of receipt of
 20 actual notice, whichever is earlier.
 21         5.     This notice shall state that the petition shall be for a hearing to
 22 adjudicate the validity of the petitioner's alleged interest in the property, shall be
 23 signed by the petitioner under penalty of perjury, and shall set forth the nature and
 24 extent of the petitioner's right, title or interest in the forfeited property and any
 25 additional facts supporting the petitioner's claim and the relief sought.
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  1        6.     The United States may also, to the extent practicable, provide direct
  2 written notice to any person known to have alleged an interest in the properties that
  3 are the subject of the Preliminary Order of Criminal Forfeiture, as a substitute for
  4 published notice as to those persons so notified.
  5        7.     Upon adjudication of all third-party interests, this Court will enter an
  6 Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
  7 aforementioned assets, in which all interests will be addressed.
  8        8.     Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
  9 as to the Defendant at the time of sentencing and is part of the sentence and included
 10 in the judgment.
 11 Dated: July 21, 2016
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